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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

                                                   :
Mark Vetter,                                       :
                                                   : Civil Action No.: ______
                         Plaintiff,                :
        v.                                         :
                                                   :
Harris & Harris, Ltd.,                             : COMPLAINT
                                                   :
                         Defendant.                :
                                                   :
                                                   :

                For this Complaint, the Plaintiff, Mark Vetter, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendant and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendant transacts business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Mark Vetter (“Plaintiff”), is an adult individual residing in

Kensington, Maryland, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant, Harris & Harris, Ltd. (“Harris”), is an Illinois business entity with an

address of 111 W. Jackson Boulevard, Suite 400, Chicago, Illinois 60604, operating as a
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collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       6.      A financial obligation (the “Debt”) was allegedly incurred to an original creditor

(the “Creditor”).

       7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       8.      The Debt was purchased, assigned or transferred to Harris for collection, or Harris

was employed by the Creditor to collect the Debt.

       9.      Harris attempted to collect the Debt and, as such, engaged in “communications”

as defined in 15 U.S.C. § 1692a(2).

   B. Harris Engages in Harassment and Abusive Tactics

       10.     In or around January 2021, Harris began calling Plaintiff in an attempt to collect

the Debt allegedly owed by Carlton Smith and/or Lionel Smith (the “Debtors”).

       11.     During the initial conversation, Plaintiff informed Harris that the Debtors were

unknown to him and unreachable at his telephone number.

       12.     Knowing that they had the wrong number to reach the Debtors, Harris continued

to call Plaintiff in an attempt to collect the Debt, causing Plaintiff a significant amount of

inconvenience and annoyance.

   C. Plaintiff Suffered Actual Damages

       13.     Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendant’s unlawful conduct.

       14.     As a direct consequence of the Defendant’s acts, practices and conduct, Plaintiff
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suffered and continues to suffer from anger, fear, frustration and stress.

                                      COUNT I
                     VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       15.        Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       16.        The Defendant’s conduct violated 15 U.S.C. § 1692b(1) in that Defendant

contacted third parties for purposes other than to confirm or correct location information.

       17.        The Defendant’s conduct violated 15 U.S.C. § 1692b(3) in that Defendant

contacted third parties in regards to the Plaintiff’s debt on numerous occasions, without being

asked to do so.

       18.        The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       19.        The Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       20.        The Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

deceptive, or misleading representation or means in connection with the collection of a debt.

       21.        The Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant

employed false and deceptive means to collect a debt.

       22.        The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

unfair and unconscionable means to collect a debt.

       23.        The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.


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       24.     The Plaintiff is entitled to damages as a result of Defendant’s violations.

                              COUNT II
     VIOLATIONS OF THE MARYLAND CONSUMER DEBT COLLECTION ACT
                   MD. CODE COMM. LAW § 14-201, et seq.

       25.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       26.     The Defendant are each individually a “collector” as defined under MD. Code

Comm. Law § 14-201(b).

       27.     The debt is a “consumer transaction” as defined under MD. Code Comm. Law

§ 14-201(c).

       28.     The Defendant repeatedly contacted the Plaintiff with the intent to harass or

abuse, in violation of MD. Code Comm. Law § 14-202(6).

       29.     The Plaintiff is entitled to damages proximately caused by the Defendant’s

violations.

                                  COUNT III
               INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       30.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       31.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       32.     Maryland further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendant violated Maryland state law.

       33.     The Defendant intentionally intruded upon Plaintiff’s right to privacy by


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continually harassing the Plaintiff with the above referenced repeated telephone calls.

       34.     The telephone calls made by the Defendant to the Plaintiff were so persistent and

repeated with such frequency as to be considered “hounding the plaintiff” and “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       35.     The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       36.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendant:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendant;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A)

                       against the Defendant;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against the Defendant;

                   4. Actual damages pursuant to MD. Code Comm. Law § 14-203;

                   5. Actual damages pursuant to MD. Ann. Code. Bus. Reg. § 7-401(b);

                   6. Actual damages from the Defendant for the all damages suffered as a result

                       of the intentional, reckless, and/or negligent FDCPA violations and

                       intentional, reckless, and/or negligent invasions of privacy in an amount to

                       be determined at trial for the Plaintiff; and



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                 7. Such other and further relief as may be just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: October 10, 2021

                                            Respectfully submitted,

                                            By     /s/ Sergei Lemberg
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